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Defendant’s
Exhibit No. 4
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                              UNITED STATES DISTRICT COURT
                              OF THE DISTRICT OF COLUMBIA

 CARL BARNES, et al.,

                           Plaintiffs,
                                                     Civil Action No:      06-0315 (RCL)
 v.

 THE DISTRICT OF COLUMBIA,

                           Defendant.

                         DECLARATION OF REENA CHAKRABORTY

           Pursuant to 28 U.S.C. § 1746, I, Reena Chakraborty, declare and state as follows:

      1. I am over the age of eighteen (18) years, competent to testify to the matters contained

herein, and testify based on my personal knowledge and information.

      2. I have been employed with the District of Columbia Department of Corrections (“DOC”)

since September 2011 as the Supervisory Statistician, and during the period July 2004 through

August 2011 as the Statistician Forecasting. My duties include strategic planning and analysis,

forecasting, and supervision of information services staff.

      3. I took part in early mediation in this matter, meeting with plaintiffs’ counsel and their

expert, Dr. Brian Kriegler, together with District counsel, to discuss the DOC, JACCS, and

various data issues.

      4.   On June 15, 2012, the District’s counsel contacted me and told me about plaintiffs’

Motion to Compel in this case, which alleged that there were some 1,100 records “missing” from

the copy of the Release Discrepancy Database (maintained by the DOC) that we provided to

plaintiffs in discovery.

      5. I asked counsel to send me a copy of the allegedly missing records so that I could look

into the issue. Counsel sent me a copy of the spreadsheet called “Epsilon” by plaintiffs, which
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they claim contains the allegedly missing records. Plaintiffs also claim that Epsilon was created

by using criteria in the “potential overdetention query” identified by Lee Gazlay (a former DOC

consultant), run against the data in JACCS (which data was also provided to plaintiffs in

discovery). At my request, the District’s counsel also sent me “Program 4” and “Program 5,” the

specific queries used by plaintiffs’ expert to create Epsilon.

   6. On my review of Epsilon, it became apparent that plaintiffs were using a different query

than the one used by the DOC to generate the Release Discrepancy Database. As I recall, the

Release Discrepancy Database was begun as a result of the Bynum case, so that the DOC could

track potentially overdetained inmates.

   7. Plaintiffs claim that some 1,127 records were “missing” from the Release Discrepancy

Database we provided to them. This is incorrect. As I discovered, these records were never

exported from JACCS into the Release Discrepancy Database in the first place, hence were not

“missing.” For example, 781 of the records were for inmates labeled “COR” and released the

same day from the MHU (BOOKING.RELTYPE = MHU, BOOKING.RELCUST = “SELF”).

Another 266 were inmates were released to other law-enforcement authorities, hence were never

even potentially overdetained here. All the other records that plaintiffs claim are “missing” are

similarly accounted for as not even potentially overdetained, hence did not appear in the Release

Discrepancy Database.

   8. I talked with Steve Fezuk, another DOC employee (who was deposed in the case

regarding JACCS and other computer issues). He compared the queries used by plaintiffs to that

used by the DOC to generate the Release Discrepancy Database, and confirmed my

understanding, i.e., that the queries used by plaintiffs here are not the ones used by the DOC, and




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